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1                                          UNITED STATES DISTRICT COURT

2                                              DISTRICT OF NEVADA

3                                                        ***

4

5     UNITED STATES OF AMERICA,

6                             Plaintiff,                    2:14-cr-00242-JCM-VCF
                                                            ORDER
7     vs.
      ADRIAN ACEVEDO-HERNANDEZ, and J.
8     NEMIAS REYES MARIN,
9                             Defendants.
10

11             Before the court is the United States' Motion to Amend Indictment to Correct Typographical Errors
12   (#110).
13             To date, defendant has not responded to the United States' Motion to Amend Indictment to Correct
14   Typographical Errors (#110). Pursuant to Local Rules of Criminal Practice 12-1(a)(2), responses to
15   pretrial motions must be filed and served within 14 days from the date of service of the motion. The
16   motion was filed on June 9, 2015 and 14 days has passed from the date of service of the motion.
17             Accordingly,
18             IT IS HEREBY ORDERED that any opposition to United States' Motion to Amend Indictment to
19   Correct Typographical Errors (#110) must be filed by July 24, 2015. If defendant fails to file a timely
20   response, the court will construe defendant's failure to respond as a consent to the granting of the motion.
21             DATED this 20th day of July, 2015.
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24
                                                                   CAM FERENBACH
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                                                                   UNITED STATES MAGISTRATE JUDGE
